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                    UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                            Alexandria Division

UNITED STATES OF AMERICA           :
                                   :
v.                                 :    Criminal Case No. 1:18-CR-457 (AJT)
                                   :
BIJAN RAFIEKIAN, et al.            :


      DEFENDANT BIJAN RAFIEKIAN’S REPLY IN FURTHER SUPPORT OF
       MOTION TO COMPEL DISCLOSURE OF CLASSIFIED MATERIAL
                      AND EX PARTE STATEMENT
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                                           ARGUMENT

       Rafiekian cannot adequately respond to the government’s arguments in opposition to his

Renewed Motion for a New Trial without access to (a) the classified material underlying

Defendant’s Exhibit 66 (“DX66”) and (b) the government’s ex parte statement regarding whatever

privileges the government is invoking to prevent discoverability of that material. Although the

Court long ago declined to allow Rafiekian’s counsel to participate in a pre-trial hearing regarding

the government’s CIPA Section 4 submission, see ECF No. 44, things have changed since February

2019. In particular, the Court held a trial in which the government presented Rafiekian with the

Hobson’s choice of whether to introduce the supposedly exculpatory substitute CIPA statement—

without the underlying evidence, supporting context, or any ability to rebut the government’s

subsequent implication that Rafiekian had joined Flynn’s conspiracy. See Mem. Op. Granting

Acquittal at 37, ECF No. 372 (highlighting the “Government’s use of Defendant’s Exhibit 66 to

support its claim that Rafiekian participated in the alleged conspiracy, even though the information

in that exhibit related solely to Flynn and explicitly excluded Rafiekian”).

       The government now claims that this Court has already adopted a “settled practice”

concerning the disclosure of these materials. But the government’s contention ignores that this

Court explicitly reserved consideration of this very issue in its original new trial order. See United

States v. Rafiekian, No. 1:18-CR-457-AJT-1, 2019 WL 4647254, at *17 n.46 (E.D. Va. Sept. 24,

2019) (“Given the Court’s Rule 29 ruling, there is no need for the Court to consider at this time

the substantial issues Rafiekian has raised with respect to the adequacy of the information he was

provided regarding the matters referenced in Defendant’s Exhibit 66.”). Both the one-sentence

summary provided by the government to Rafiekian on the eve of trial, and the separate ex parte,

in camera statement to the Court (for which not even a partial or redacted version has been made



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available to cleared defense counsel), are inadequate to preserve Rafiekian’s right to a fair trial.

Rafiekian’s constitutional right to adequately defend himself—both in this court and in any

subsequent appeal—outweighs whatever continued interest the government has in shielding this

material from Rafiekian’s counsel. For the following reasons, the Court should exercise its

discretion to grant Rafiekian’s Motion to Compel.

  I.   The Court Should Exercise Its Discretion to Order Disclosure of the Government’s
       Ex Parte Statement

       The parties agree that Section 4 of the Classified Information Procedures Act (“CIPA”)

uses permissive language, providing that “[t]he court may permit the United States to make a

request for such authorization [for protection of classified information] in the form of a written

statement to be inspected by the court alone.” See Gov’t’s Opp’n to Rafiekian’s Mot. to Compel

at 3 n.2, ECF No. 398 (emphasis added); see also 18 U.S.C. § APP. 3 § 4, 6(c); see also United

States v. Muhanad Mahmoud Al-Farekh, 956 F.3d 99, 109 (2d Cir. 2020) (noting that the district

court has “discretion” to decide whether to proceed “ex parte and in camera”). By its plain terms,

CIPA Section 4 does not provide the government with an absolute right to proceed ex parte or to

shield classified information from a defendant; instead, district courts plainly retain “discretion”

to decide whether to permit access to the government’s ex parte submissions. See, e.g., United

States v. Abu Ali, 528 F.3d 210, 258 (4th Cir. 2008) (affirming district court’s denial of “access to

the government’s ex parte opposition to the motion to compel” as an adequate “exercise of its

discretion”). Indeed, the government does not even appear to dispute that this Court has discretion

to refuse to permit the government to proceed ex parte. The Court should thus exercise its

discretion here to preserve Rafiekian’s right to a fair trial. See United States v. Moussaoui, 382

F.3d 453, 466 n.18 (4th Cir. 2004) (“There is no question that the Government cannot invoke

national security concerns as a means of depriving [the defendant] of a fair trial.”); see United

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States v. Abu Ali, 528 F.3d 210, 247 (4th Cir. 2008) (citing United States v. Smith, 780 F.2d 1102,

1105 (4th Cir. 1985) (district courts must balance the “public interest in protecting the information

against the individual’s right to prepare his defense”); United States v. Fernandez, 913 F.2d 148,

154 (4th Cir. 1990) (While the court must “take into account the government’s interest in protecting

national security, . . . this interest cannot override the defendant's right to a fair trial.”).

        The out-of-circuit cases cited by the government for the proposition that the government

must be permitted to argue discoverability ex parte prove Rafiekian’s point: that determination

necessarily turns on the particular facts, including relevant fair-trial considerations, of each case.

For example, in United States v. Mejia, 448 F.3d 436 (D.C. Cir. 2006), the court denied the

defendant access to the classified evidence at issue because it deemed the material “unhelpful to

the defendants.” Mejia, 448 F.3d at 459. But here, the underlying classified information was

presumably viewed as helpful to the defense—otherwise, the government would not have had to

disclose even a summary to Rafiekian in the first place. See 18 U.S.C. § APP. 3 § 4; United States

v. Barnes, 486 F.2d 776, 778 (8th Cir. 1973) (“Certainly one of the most relevant factors to be

weighed by the court is whether or not the evidence is material to the accused’s defense or a fair

determination of the cause.”). The remaining cases cited by the government are not binding on

this court; indeed, as the government acknowledges, “the Fourth Circuit had not yet directly held

on this issue.” Opp’n at 5 n.4 (citing U.S. v. Kotey, -- F. Supp. 3d --, 2021 WL 3088012 (E.D. Va.

June 28, 2021) (Ellis, J.)).

     Importantly, a ruling that the government cannot file its legal brief entirely ex parte does not

mean that the underlying information would become public. CIPA’s procedures are designed to

prevent public disclosure of classified material in multiple ways, including through the use of

protective orders (such as the “Protective Order Pertaining to Classified Information” that is



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already in place, see ECF No. 100). The government is thus simply wrong to suggest that it

“logically must be entitled . . . to make its arguments as to non-discoverability in camera and ex

parte to prevent unnecessary disclosures of classified information.” Opp’n at 8 (emphasis added).

The existing protective order, and other appropriate procedures, can adequately prevent disclosures

of classified material.

       Without the ability to review the government’s arguments addressing non-

discoverability—or even the nature of the specific privilege the government seeks to invoke—

Rafiekian’s cleared defense counsel cannot effectively argue for a new trial. A “fair hearing

requires [a] ‘reasonable opportunity to know the claims of the opposing party and to meet them.’”

See RZS Holdings AVV v. PDVSA Petroleo S.A., 506 F.3d 350, 357 (4th Cir. 2007) (quoting In re

Paradyne Corp., 803 F.2d 604, 612 (11th Cir. 1986)). Yet the government has withheld critical

legal arguments from Rafiekian’s cleared counsel. See Opp’n at 1 (government asserting that its

“unclassified response . . . addressed the vast majority of defendant’s arguments,” though not

arguments “addressing non-discoverability”) (emphasis added).          Due process thus entitles

Rafiekian the ability to respond to the government’s arguments regarding “non-discoverability,”

which go to the heart of Rafiekian’s request for a new trial. See RZS Holdings AVV, 506 F.3d at

357 (ex parte proceedings “fundamentally at variance with our conceptions of due process”)

(quoting Thompson v. Greene, 427 F.3d 263, 269 n.7 (4th Cir. 2005)).1

       The unfairness of the government’s ex parte submissions is especially salient given “the

Government's use of Defendant's Exhibit 66 to support its claim that Rafiekian participated in the


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          The Government’s reliance on In re Grand Jury Subpoena, 884 F.2d 124 (4th Cir. 1989),
for the proposition that Rafiekian’s “due process rights were not violated” is misplaced. Opp’n at
6. Grand jury proceedings are not adversarial and are ex parte in nature. Donaldson v. United
States, 400 U.S. 517, 538 (1971) (Douglas, J. concurring) (citing In re Groban, 352 U.S. 330, 333
(1957) (“Before [the grand jury] there is no right to counsel and confrontation”)).

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alleged conspiracy, even though the information in that exhibit related solely to Flynn and

explicitly excluded Rafiekian.” Mem. Op. Granting Acquittal at 37, ECF No. 372. Indeed, the

government has acknowledged that DX66 was “critical[]” evidence from which the jury “could—

and did—rationally infer” guilt. See Gov’s Opp’n to Rafiekian’s Mot. for Acquittal or a New Trial

13-14, ECF No. 365 (emphasis added); cf. Abu Ali, 528 F.3d at 255 (“There is a stark difference

between ex parte submissions from prosecutors which protect the disclosure of irrelevant, non-

exculpatory, or privileged information, and situations in which the government seeks to use ex

parte information in court as evidence to obtain a conviction.”). Given these circumstances,

Rafiekian should at least have a full and fair opportunity to respond to the government’s

arguments, including an adequate basis to understand the nature of the privilege the government

invokes.

 II.   The Court Should Exercise its Discretion to Order Disclosure of the Underlying
       Classified Material

       In addition to requiring the government to disclose its ex parte statement, the Court should

order disclosure of the underlying classified material. Rafiekian’s ability to argue for this relief is

necessarily limited given that he is not even aware of the privilege the government is invoking, let

alone the nature of the underlying classified information. But it is clear that courts have discretion

to deem classified information discoverable when such information is “at least helpful to the

defense of the accused.” See Rezaq, 134 F.3d at 1142 (internal quotation marks omitted) (quoting

United States v. Yunis, 867 F.2d 617, 623 (D.C. Cir. 1989)); see Abu Ali, 528 F.3d at 247 (The

government’s privilege in classified information is “a qualified one in the sense that it must give

way when the information is relevant and helpful to the defense of an accused, or is essential to a

fair determination of a cause”) (citations and quotations omitted); United States v. Moussaoui, 365

F.3d 292, 312 (4th Cir. 2004), opinion amended on reh'g, 382 F.3d 453 (4th Cir. 2004) (“[I]t is

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clear that when an evidentiary privilege—even one that involves national security—is asserted by

the Government in the context of its prosecution of a criminal offense, the ‘balancing’ we must

conduct is primarily, if not solely, an examination of whether the district court correctly determined

that the information the Government seeks to withhold is material to the defense.”). In making

that determination, moreover, courts “err on the side of protecting the interests of the defendant.”

Rezaq, 134 F.3d at 1142. Thus, the rule is construed broadly to include exculpatory evidence

pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny (including Giglio material), as

well as evidence that simply provides context for other facts presented to the jury. See Mejia, 448

F.3d at 456-457 (“While Brady information is plainly subsumed within the larger category of

information that is ‘at least helpful’ to the defendant, information can be helpful without being

‘favorable’ in the Brady sense”); see also Rezaq, 134 F.3d at 1142 (holding that evidence helpful

to the defendant includes evidence “necessary to place a fact in context in order to ensure that the

jury is able to give it its full weight.”).

     Although Rafiekian is forced to speculate given the ex parte proceedings to date, he presumes

that the single-sentence summary of classified information in DX66 was deemed by the Court to

be “at least helpful to the accused”—perhaps because it summarized exculpatory Brady material,

or perhaps because it was Giglio material that would have allowed Rafiekian to examine (or cross-

examine) Michael Flynn.          But the nature of DX66—which discloses (i) the existence of

“communications, interactions, and a relationship” between Alptekin and Flynn, (ii) an

engagement of Flynn by Alptekin related to Flynn’s role in the Trump campaign, and (iii) a cryptic

conclusion stating that the evidence does not “reference” Rafiekian or Flynn Intel Group—did not

adequately allow Rafiekian to adequately fashion his defense. DX66. The statement provides no

context regarding the relevant time period, the extent or nature of the evidence, or whether either



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Flynn or Alptekin agreed to operate at Turkey’s direction and control. Accordingly, Rafiekian’s

counsel had no way to effectively use those facts at trial. For example, without any context,

Rafiekian’s counsel could not use it to question Michael Flynn, or the defendant himself, about its

contents. The substituted statement thus failed to “provide the defendant with substantially the

same ability to make his defense as would disclosure of the specific classified information.” 18

U.S.C. § App. 3 § 6(c)(1); see id. § 4.

     At a minimum, without access to the underlying material, cleared defense counsel—“who are

in the best position to know whether information would be helpful to their defense”—are ill-

equipped “to assist the court in its assessment of the information’s helpfulness.” Mejia, 448 F.3d

at 458 (holding the “at least helpful test” applies when the materiality or helpfulness of the

information presents a close question) (internal quotation marks omitted). Again, the CIPA

procedures do not “override the defendant's right to a fair trial.” Fernandez, 913 F.2d at 154.

“Were it otherwise, CIPA would be in tension with the defendant's fundamental constitutional right

to present a complete defense.” Id.; see also United States v. Sedaghaty, 728 F.3d 885, 907 (9th

Cir. 2013) (remanding for a new trial upon finding the government’s inadequate CIPA substitution

“interfered with [the defendant’s] ability to present a complete defense”).

     Finally, the fact that Rafiekian’s trial counsel currently hold Top Secret/SCI security

clearances can—and should—be factored into the Court’s balancing of interests. The Fourth

Circuit has allowed for cleared defense counsel to review classified materials to adequately prepare

a defense. See Abu Ali, 528 F.3d at 254 (finding that “the district court struck an appropriate

balance between the government's national security interests and the defendant's right to explore

the manner in which the communications were obtained and handled” when “CIPA-cleared

defense counsel was provided with the classified versions [of communications] and afforded



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unfettered opportunity to cross-examine the government's witnesses concerning these matters”).

Any concerns the government has about classified information can be accommodated through the

oversight of the Court Security Officer who is already assigned to this case, the existing protective

order, ECF No. 100, and the procedures followed by the Justice Management Division for the

handling of classified evidence.

                                         CONCLUSION

       For the foregoing reasons, Rafiekian respectfully moves the Court to grant his Motion to

Compel and order disclosure to cleared defense counsel of the underlying classified material for

which DX66 is a purported substitute, as well as the government’s ex parte statement in support

of its Opposition to Defendant’s Renewed Motion for a New Trial and any related exhibits.



Dated: September 9, 2021                              Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that, on the 9th day of September 2021, true and genuine copies of

Defendant Bijan Rafiekian’s Reply in Support of his Motion to Compel Disclosure of Classified

Material and Ex Parte Statement was sent via electronic mail by the Court’s CM/ECF system to

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